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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISION

 

UNITED STATES OF AMERICA, CR 21-10012
Plaintiff, PLEA AGREEMENT
VS.
DANIEL JAMES COOPER,

Defendant.

 

The Defendant, the Defendant’s attorney, and the United States Attorney
for the District of South Dakota hereby submit the following Plea Agreement to
the United States District Court, which Agreement was reached pursuant to
discussions between the United States Attorney and the Defendant’s attorney.
The Agreement is as follows:

A. ACKNOWLEDGMENT AND WAIVER OF RIGHTS AND
UNDERSTANDING OF MAXIMUM PENALTIES: The Defendant agrees that he
has been fully advised of his statutory and constitutional rights herein, and that
he has been informed of the charges and allegations against him and the penalty
therefor, and that he understands same. The Defendant further agrees that he
understands that by entering a plea of guilty as set forth hereafter, he will be
waiving certain statutory and constitutional rights to which he is otherwise

entitled.
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B. PLEA AGREEMENT PROCEDURE: The United States and the
Defendant agree that this Plea Agreement is presented to the Court pursuant to
Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure which authorizes the
United States to agree that it will not bring, or will move to dismiss, other
charges. The Court may accept this agreement, reject it, or defer a decision until
the Court has reviewed the presentence report.

Cc. PLEA OF GUILTY TO CHARGE: The Defendant will plead guilty to
the Indictment filed in this case, which charges the violation of 18 U.S.C.
§ 2250(a). The charge carries a maximum sentence of ten (10) years
imprisonment, $250,000 fine, or both; a mandatory minimum period of
supervised release of at least 5 years up to life, with a violation of a condition of
release possibly resulting in two (2) years of additional incarceration on any such
revocation. If the.Defendant commits a new felony violation of Chapter 109A
(sexual abuse), chapter 110 (sexual exploitation and other abuse of children),
chapter 117 (transportation for illegal sexual activity and related crimes), section
1201 (kidnaping), or section 1591 (sex trafficking of children by force, fraud, or
coercion), while on supervised release, he may be incarcerated for a mandatory
minimum term of 5 years up to life for each violation; $100 assessment;
restitution.

D. VIOLATION OF TERMS AND CONDITIONS: The Defendant
acknowledges and understands that if he violates the terms of this plea

agreement, engages in any further criminal activity, or fails to appear for

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sentencing, this plea agreement shall become voidable at the discretion of the
United States and the Defendant will face the following consequences:

(1) All testimony and other information the Defendant has provided at
any time to attorneys, employees, or law enforcement officers of the United
States, to the Court, or to the federal grand jury may and will be used against
him in any prosecution or proceeding.

(2) The United States will be entitled to reinstate previously dismissed
charges and/or pursue additional charges against the Defendant, and to use any
information obtained directly or indirectly from him in those additional
prosecutions.

(3) The United States will be released from any obligations, agreements,
or restrictions imposed upon it under this plea agreement.

E. ACCEPTANCE OF RESPONSIBILITY: The United States agrees
that based upon the information known to it at this time, the Defendant is
entitled to a two-level decrease in his offense level pursuant to U.S.S.G.
§ 3E1.1(a), provided no evidence is disclosed in the presentence report which
indicates the Defendant has not demonstrated a recognition and affirmative
acceptance of personal responsibility for his criminal conduct, and further
provided he: (1) complies with the terms of this Plea Agreement; (2) testifies
truthfully during the change of plea hearing; (3) participates truthfully with the
Probation Office in the presentence investigation; (4) does not violate any
conditions of pretrial detention or release after he signs this agreement; and

(5) continues to exhibit conduct consistent with acceptance of responsibility.

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Both the United States and the Defendant otherwise reserve the right to present
evidence and make argument regarding sentencing.

F. TIMELY ACCEPTANCE OF RESPONSIBILITY: The United States
agrees that the Defendant has timely notified authorities of his intention to enter
a plea of guilty thereby permitting the United States and the Court to allocate
their resources efficiently. Therefore, if the offense level determined prior to the
operation of U.S.S.G. § 3E1.1(a) is level 16 or greater and the Defendant qualifies
for a two-level decrease under U.S.S.G. § 3E1.1(a), this provision shall be treated
at the sentencing hearing as a motion pursuant to U.S.S.G. § 3E1.1(b) to
decrease the offense level by one additional level.

G. GOVERNMENT’S RECOMMENDATION REGARDING SENTENCE -
ANY SENTENCE WITHIN STATUTORY LIMITS: At the sentencing hearing,
both the United States and the Defendant are free to recommend whatever
sentence each feels is appropriate, within statutory limits, present evidence, and
make arguments in support thereof. The Defendant understands that any
recommendation made by him or the United States is not binding on the Court.
The Defendant further understands that he may not withdraw his plea of guilty
if the Court rejects any recommendation.

H. SPECIAL ASSESSMENT: The Defendant agrees to remit to the U.S.
Clerk of Court, 400 S. Phillips Ave., Sioux Falls, SD 57104, no later than two
weeks prior to sentencing, a certified or cashier’s check payable to the “U.S. Clerk
of Court” in the amount of $100, in full satisfaction of the statutory costs

pursuant to 18 U.S.C. § 3013.

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I. SEX OFFENDER REGISTRATION: The Defendant has been
advised, and understands, that under the Sex Offender Registration and
Notification Act, a federal law, that he must register and keep the registration
current in each of the following jurisdictions: where he resides; where he is an
employee; and where he is a student. The Defendant understands that the
requirements for registration include providing his name, his residence address,
and the names and addresses of any places where he will be an employee or a
student, among other information. The Defendant further understands that the
requirement to keep the registration current includes informing at least one
jurisdiction in which he resides, is an employee, or is a student not later than
three business days after any change of his name, residence, employment, or
student status. The Defendant has been advised, and understands, that failure
to comply with these obligations subjects him to prosecution for failure to
register under federal law, 18 U.S.C. § 2250, which is punishable by a fine or
imprisonment, or both.

J. BASIS FOR PLEA OF GUILTY: The Defendant agrees that the
statement of facts, signed by the parties and incorporated herein by this
reference, provides the basis for his guilty plea in this case, and is a true and
accurate statement of his actions or omissions with regard to the charges to
which he is entering a plea, and that the Court may rely thereon in determining

the basis for his plea of guilty as provided for in this plea agreement.

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K. WAIVER OF SPEEDY TRIAL: The Defendant agrees to waive any
rights to a speedy trial under either the United States constitution or the Speedy
Trial Act. This waiver is necessary so that the Court will have the benefit of all
relevant information at sentencing.

L. PARTIES BOUND: It is further understood and agreed that this
agreement is limited to the United States Attorney’s Office for the District of
South Dakota, and that this agreement cannot and does not bind other federal,
state, or local prosecuting authorities.

M. SCOPE OF AGREEMENT: This agreement shall include any
attachments, exhibits or supplements designated by the parties. It is further
understood and agreed that no additional promises, agreements, or conditions
have been entered into other than those set forth in this agreement, and this
agreement supersedes any earlier or other understanding or agreement.

N. WAIVER OF DEFENSES AND APPEAL RIGHTS: The Defendant
hereby waives all defenses and his right to appeal any non-jurisdictional issues.
The parties agree that excluded from this waiver is the Defendant’s right to
appeal any decision by the Court to depart upward pursuant to the sentencing
guidelines as well as the length of his sentence for a determination of its
substantive reasonableness should the Court impose an upward departure or

an upward variance pursuant to 18 U.S.C. § 3553(a).

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SUPPLEMENT TO PLEA AGREEMENT
The United States will file a Supplement to Plea Agreement which is

required to be filed in every case in compliance with the Court’s Standing Order.

DENNIS R. HOLMES
Acting United States Attorney

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Date Connie Larson
Assistant United States Attorney
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APPROVED:
DENNIS R. HOLMES
Acting United States Attorney

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JOHN E. HAAK
Deputy Chief, Criminal Division

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Date Daniel James Coope
Defendant

 

    
 

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Date

 

| Attorney for Defendant

   

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